                                                  TRANSMITTAL OF FINANCIAL REPORTS AND
                                                    CERTIFICATION OF COMPLIANCE WITH
                                           UNITED STATES TRUSTEE OPERATING REQUIREMENTS FOR
                                                      THE PERIOD ENDED: July 31, 2019


         IN RE:
         Debtors                                              CASE NO.:
         FirstEnergy Solutions Corp.                          18-50757
         FirstEnergy Generation, LLC                          18-50762
         FirstEnergy Nuclear Generation, LLC                  18-50760
         FirstEnergy Nuclear Operating Company                18-50761
         FE Aircraft Leasing Corp.                            18-50759
         FirstEnergy Generation Mansfield Unit 1 Corp.        18-50763
         Norton Energy Storage L.L.C.                         18-50764

                                                                                      Chapter 11 Judge:           Alan M. Koschik

         As debtor in possession, I affirm:

         1.   That I have reviewed the financial statements attached hereto, consisting of:

                   X          Operating Statement                                     (Form 2)
                   X          Balance Sheet                                           (Form 3)
                   X          Summary of Operations                                   (Form 4)
                   X          Monthly Cash Statement                                  (Form 5)
                   X          Statement of Compensation                               (Form 6)
                   X          Schedule of In-Force Insurance                          (Form 7)

         and that they have been prepared in accordance with normal and customary accounting
         practices, and fairly and accurately reflect the debtor's financial activity for the period stated;

         2. That the insurance, including workers' compensation and unemployment insurance,
         as described in Section 4 of the Reporting Requirements For Chapter 11 Cases is in effect; and,
         (If not, attach a written explanation)           YES__X____           NO______

         3. That all postpetition taxes as described in Sections 1 and 14 of the Operating
         Instructions and Reporting Requirements For Chapter 11 cases are current.
         (If not, attach a written explanation)           YES__X____             NO______

         4. No professional fees (attorney, accountant, etc.) have been paid without specific
         court authorization.
         (If not, attach a written explanation)           YES__X____            NO______

         5.   All United States Trustee Quarterly fees have been paid and are current.
                                                           YES__X____            NO______

         6. Have you filed your prepetition tax returns.
         (If not, attach a written explanation)               YES__ ____              NO___X___
              Explanation: We have filed all pre-petition tax returns that were due. Certain pre-petition tax returns for the period of January
              1, 2018 through March 31, 2018 will not be due until April 2019 or later.

         I hereby certify, under penalty of perjury, that the information provided above and in the attached documents
         is true and correct.



                   Dated:                         8/29/2019                      Responsible Officer of the Debtor in Possession


                                                                                 CFO, CRO & Corporate Secretary
                                                                                 Title

         This Monthly Operating Report ("MOR") has been prepared solely for the purpose of complying with the monthly reporting
         requirements applicable in the bankruptcy cases and is in a format acceptable to the U.S. Trustee. The financial information
         contained herein is unaudited, limited in scope and as discussed below, not prepared in accordance with accounting principles
         generally accepted in the United States of America ("U.S. GAAP").
         The unaudited consolidated financial statements have been derived from the books and records of the Debtors in these Chapter
         11 cases. The information furnished in this report includes primarily normal recurring adjustments, but not all of the
         adjustments that would typically be made for the quarterly and annual financial statements to be in accordance with U.S.
         GAAP. Furthermore, the monthly financial information contained herein has not been subjected to the same level of
         accounting review and testing that the Debtors apply in the preparation of their quarterly and annual financial information in
         accordance with U.S. GAAP. Accordingly, upon the application of such procedures, the Debtors believe that the financial
         information may be subject to change, and that these changes could be material.
         The amounts currently classified as liabilities subject to compromise may be subject to future change as the Debtors complete
         their analysis of pre and post-petition liabilities.
         The results of operations contained herein are not necessarily indicative of results which may be expected from any other
         period or for the full year and may not necessarily reflect the consolidated results of operations, financial position and
         schedule of receipts and disbursements of the Debtors in the future. The Debtors caution readers not to place undue reliance
         upon the MOR. There can be no assurance that such information is complete and the MOR may be subject to revision.




                                                                                                                                                     FORM 1


18-50757-amk       Doc 3139                   FILED 08/30/19                      ENTERED 08/30/19 17:28:26                                   Page 1 of 27
                                                                                                                                                                      OPERATING STATEMENT (P&L)
                                                                                                                                                                      Period Ending: July 31, 2019
Case No:                                                          18-50757                                    18-50762                                   18-50760                              18-50759                               18-50763                                18-50764                                                                         18-50761
                                                                                                                                                                                                                          FirstEnergy Generation Mansfield                                              Consolidated FirstEnergy Solutions           FirstEnergy Nuclear Operating
                                                       FirstEnergy Solutions Corp.                FirstEnergy Generation, LLC            FirstEnergy Nuclear Generation, LLC           FE Aircraft Leasing Corp.                                                     Norton Energy Storage L.L.C.                          (a)
In $US Dollars                                                                                                                                                                                                                       Unit 1 Corp.                                                                    Corp.                                      Company
                                                       Current            Total Since              Current           Total Since              Current            Total Since            Current           Total Since        Current          Total Since             Current           Total Since        Current           Total Since               Current         Total Since
                                                        Month               Filing                  Month              Filing                  Month               Filing                Month              Filing            Month               Filing               Month              Filing            Month              Filing                   Month            Filing
                                                      7/31/2019                                   7/31/2019                                  7/31/2019                                 7/31/2019                            7/31/2019                                7/31/2019                            7/31/2019                                   7/31/2019
Revenue:
    Electric Sales                                $   172,174,639     $      3,121,611,953    $    37,547,165 $          837,375,888     $    70,146,353     $   1,348,217,681     $           -      $            -      $   3,988,465     $     89,890,721     $            -     $            -      $   172,174,639 $      3,121,611,953     $            -      $            -
    Other Revenues                                             74                  241,201           (215,094)             3,005,653                 -                     -                   -               777,886              -                    -                    -                  -             (215,020)           4,024,741               19,513             915,626
Total Revenue                                     $   172,174,713     $      3,121,853,155    $    37,332,071 $          840,381,541     $    70,146,353     $   1,348,217,681     $           -      $        777,886    $   3,988,465     $     89,890,721     $            -     $            -      $   171,959,619 $      3,125,636,694     $         19,513    $        915,626

Operating Expenses:
    Fuel                                                      -                        -           18,934,922          272,263,217             2,451,936            82,366,358                 -                   -            302,660           10,327,033                  -                  -           21,689,519          364,956,607               13,298            1,249,544
    Purchased Power                                   134,894,377            2,873,963,629          3,989,103           89,932,752                   -                     -                   -                   -                -                    -                    -                  -           27,201,497          688,412,090                  -                    -
    Professional & Contractor Services                 10,208,557              218,422,330          2,654,301          114,053,029                     53               27,886                 -                   -                -                    -                    -                  -           12,862,910          332,503,244            6,740,327          183,344,554
    Labor and Employee Benefits                         2,531,862               24,516,065          5,701,854           99,888,206                   633            (7,437,756)                -                   327              -                    -                    -                  -            8,234,348          116,966,841           33,647,599          530,902,271
    General Business and Travel                            47,764                2,554,382             33,349            1,291,760                   -                 254,944                 -                (6,192)             -                    -                    -                  -               81,113            4,094,894              502,996           10,364,897
    Dues, Fees, Licenses & Permits                      4,481,964               14,633,757            179,593            5,529,324                   -                 120,126                 -                   -                -                    -                    -                  -            4,661,557           20,283,207            3,945,147           57,180,659
    Lease Rental Costs                                     60,018                1,531,483            162,797            3,446,878                54,470               844,251                 -                   -                -                    -                    -                  -              277,285            5,822,612              182,603            3,615,049
    Other Operating Expenses                            7,614,777              214,988,963          4,679,103          506,288,476            55,471,472         1,023,780,381                 -                 6,192          888,990          136,264,004                  -                  -           72,717,481        1,856,235,891          (45,008,927)        (804,276,980)
    Provision for Depreciation and Amortization           559,419               10,698,225            815,102           26,267,824            12,488,847           194,848,961                 -               403,286              -              1,913,117                  -                  -           13,863,368          232,793,321                  -                    -
    General Taxes                                       1,619,347               26,845,166            732,734           19,085,981             1,311,103            21,606,450                 -                   -             21,225              355,065                  -                  -            3,684,409           68,164,471            1,284,595           29,081,433
Total Operating Expenses                              162,018,084            3,388,153,999         37,882,858        1,138,047,446            71,778,513         1,316,411,601                 -               403,613        1,212,875          148,859,219                  -                  -          165,273,488        3,690,233,180            1,307,638           11,461,426
Operating Margin                                       10,156,629             (266,300,844)          (550,787)        (297,665,905)           (1,632,160)           31,806,080                 -               374,274        2,775,590          (58,968,498)                 -                  -            6,686,131         (564,596,485)          (1,288,125)         (10,545,801)

Other Income / (Expense)
    Other Income (Expense)                                422,638             (783,937,605)         (1,714,686)          (444,014,188)          4,702,562            98,107,720            114,450          (1,696,649)              -           (168,657,824)                -                  -            4,310,183          (984,231,827)          1,512,071         (265,873,432)
    Interest Expense                                    2,006,582                 (154,606)         (3,839,194)           (33,418,831)         (7,488,973)          (67,325,973)               -                   -          (4,375,009)         (72,361,080)                -                  -              300,729           (28,368,240)            (85,768)            (538,165)
    Capitalized Financing Costs                               -                     13,551                 -                  693,907                 -                     -                  -                   -                 -                  1,740                 -                  -                  -                 709,198                 -                    -
Other Income and Expenses                               2,429,220             (784,078,660)         (5,553,881)          (476,739,112)         (2,786,411)           30,781,748            114,450          (1,696,649)       (4,375,009)        (241,017,164)                -                  -            4,610,912        (1,011,890,870)          1,426,303         (266,411,596)
Income Taxes                                            (4,195,813)              2,083,656             999,837            59,656,459             565,135             2,599,602             (24,284)            444,293           28,734           23,436,512                  -                  -           (2,274,095)          74,682,446             (138,178)          (6,258,916)
Net Income / (Loss)                               $     8,390,036     $   (1,048,295,848)     $     (5,104,830) $        (714,748,558)   $     (3,853,436) $        65,187,429     $        90,166    $       (878,083)   $   (1,570,685) $      (276,549,150)   $            -     $            -      $     9,022,949    $   (1,501,804,908)   $              0    $    (283,216,310)



Dated: 08/29/2019                             Responsible Officer of the Debtor in Possession

Notes:
(a) Consolidated FirstEnergy Solutions Corp. does not include FirstEnergy Nuclear Operating Company.




                                                                                                                                                                                                                                                                                                                                                                                  FORM 2



                                                        18-50757-amk                                          Doc 3139                          FILED 08/30/19                                        ENTERED 08/30/19 17:28:26                                                                       Page 2 of 27
                                                               BALANCE SHEET
                                                         Period Ending: July 31, 2019
Debtor:                                                                       Case Number:
FirstEnergy Solutions Corp.                                                   18-50757
FirstEnergy Generation, LLC                                                   18-50762
FirstEnergy Nuclear Generation, LLC                                           18-50760
FE Aircraft Leasing Corp.                                                     18-50759
FirstEnergy Generation Mansfield Unit 1 Corp.                                 18-50763                  Debtor:                                             Case Number:
Norton Energy Storage L.L.C.                                                  18-50764                  FirstEnergy Nuclear Operating Company               18-50761

In $US Dollars                                           Current Month (a)        Prior Month (a)                                        Current Month          Prior Month
Current Assets
   Cash & Cash Equivalents                           $       1,004,181,166    $      1,011,280,443                                   $       55,819,225     $      51,657,304
   Accounts Receivable - Trade / Other                         129,637,021             126,477,445                                                  -                     -
   Prepayments & Other                                         276,345,740             266,254,477                                           25,327,362            23,286,067
   Materials and Supplies                                       84,459,538              86,448,369                                                  -                     -
   Other Current Assets                                        122,790,658              99,863,038                                          147,178,859           133,846,406
Total Current Assets                                         1,617,414,122           1,590,323,773                                          228,325,446           208,789,777

Property, Plant and Equipment
  Net Plant, excluding CWIP                                     95,538,452              96,096,442                                                    -                     -
  CWIP                                                          13,947,533               9,603,755                                                    -                     -
Total Property, Plant and Equipment                            109,485,985             105,700,196                                                    -                     -

Other Long-Term Assets
  Nuclear Plant Decommissioning Trusts                       1,949,442,501           1,943,199,418                                                  -                     -
  Accumulated Deferred Income Taxes                          2,039,249,964           2,036,562,909                                           47,952,163            48,797,343
  Other                                                        440,223,290             440,647,073                                          721,568,194           723,509,139
Total Long-Term Assets                                       4,428,915,754           4,420,409,399                                          769,520,357           772,306,482

Total Assets                                         $       6,155,815,861    $      6,116,433,368                                   $      997,845,803     $     981,096,259

Post-Petition Liabilities
Current Liabilities
  Accounts Payable - Trade                           $          17,996,513    $         17,945,337                                   $       11,178,645     $        6,040,917
  Accounts Payable - Other                                      55,713,449              60,227,807                                           20,519,188             22,406,753
  Other Current Liabilities                                    562,355,804             540,479,321                                           73,410,927             63,774,748
Total Post-Petition Current Liabilities                        636,065,765             618,652,465                                          105,108,759             92,222,418

Long-term Liabilities
  Long-term Debt                                                       -                       -                                                    -                      -
  Other Long-Term Liabilities                                  182,481,668             170,713,117                                           33,507,699             30,340,407
Total Post-Petition Long-Term Liabilities                      182,481,668             170,713,117                                           33,507,699             30,340,407

Liabilities Subject to Compromise (LSTC) (b)
   LSTC - Trade (c)                                             26,641,336              26,590,096                                            18,585,673            18,567,670
   LSTC - Other                                              8,928,154,024           8,928,125,821                                         1,170,636,001         1,170,495,141
Total LSTC                                                   8,954,795,360           8,954,715,917                                         1,189,221,674         1,189,062,811

Equity
  Equity                                                    (3,617,526,932)         (3,627,648,131)                                         (329,992,329)         (330,529,377)
Total Equity                                                (3,617,526,932)         (3,627,648,131)                                         (329,992,329)         (330,529,377)

Total Liabilities and Equity                         $       6,155,815,861    $      6,116,433,368                                   $      997,845,803     $     981,096,259




Dated: 08/29/2019
                                                                                                        Responsible Officer of the Debtor in Possession


Notes
(a) FirstEnergy Solutions Corp. and it's subsidiaries balance sheets are presented on a consolidated basis consistent with their historical SEC reporting methodology.

(b) Liabilities subject to compromise (LSTC) includes amounts for asset retirement obligations, employee related items such as pension or OPEB, deferred sale and
leaseback liability for Bruce Mansfield Unit 1 and tax-related liabilities that are not included in the Debtors' statements and schedules.
(c) The LSTC - Trade balance reflects vouched, prepetition, third party trade payables. Prepetition third party trade accruals of approximately $74.5 million are reflected in
LSTC – Other line item.




                                                                                                                                                                    FORM 3


 18-50757-amk                    Doc 3139                FILED 08/30/19                   ENTERED 08/30/19 17:28:26                                       Page 3 of 27
                                     SUMMARY OF OPERATIONS
                                     Period Ended: July 31, 2019
      Debtor:                                                Case No:
      FirstEnergy Solutions Corp.                            18-50757
      FirstEnergy Generation, LLC                            18-50762
      FirstEnergy Nuclear Generation, LLC                    18-50760
      FirstEnergy Nuclear Operating Company                  18-50761
      FE Aircraft Leasing Corp.                              18-50759
      FirstEnergy Generation Mansfield Unit 1 Corp.          18-50763
      Norton Energy Storage L.L.C.                           18-50764

                                                  Schedule of Postpetition Taxes Payable
                                                                 Beginning            Accrued/            Payments/            Ending
      In $US Dollars                                              Balance             Withheld             Deposits            Balance
      Income Taxes Withheld:
      Federal:                                                              -           $4,386,475          ($4,386,475)              -
      State:                                                                -            $957,297             ($957,297)              -
      Local:                                                                -            $346,257             ($346,257)              -

      FICA Withheld:                                                        -           $1,834,224          ($1,834,224)              -

      Employers FICA:                                                       -           $1,773,044          ($1,773,044)              -

      Unemployment Tax:
      Federal:                                                              -                $1,462              ($1,462)             -
      State:                                                                -                $9,322              ($9,322)             -

      Sales, Use & Excise Taxes:                                       (47,928)            193,086             (139,901)            5,257

      Property Taxes:                                               15,084,801          $1,874,308          ($5,510,051)       11,449,057

      Workers' Compensation                                                 -                    -                   -                -

      Other:                                                                -                    -                   -                -

      TOTALS:                                                       15,036,873      $11,375,475         ($14,958,033)        $11,454,314

                                                  AGING OF ACCOUNTS RECEIVABLE
                                                AND POSTPETITION ACCOUNTS PAYABLE

      Age in Days                                                    0-30               30-60              Over 60          Total
      Post-Petition Accounts Payable (a)                            29,175,158                   -                   -        $29,175,158

      Accounts Receivable (b)                                       68,676,270             625,664                   -        $69,301,933



      Describe events or factors occurring during this reporting period materially affecting operations and
      formulation of a Plan of Reorganization:
      Beside the relief contained in the orders granting the first day motions, the filing of Schedules and Statement of Financial Affairs
      for each of the Debtors, the order extending the Debtors' exclusive periods to file a plan of reorganization and solicit acceptances
      thereto, the order granting the motion to approve the settlement among the Debtors, Non-Debtor affiliates and certain other
      settlement parties, the motion to approve the restructuring support agreement between the Debtors and certain Consenting
      Creditors with attached plan term sheet filed with the Court and the Disclosure Statement for the Fifth Amended Joint Plan of
      Reorganization which was filed with the Court and then approved by the Court at a hearing on May 20, 2019, nothing else to
      report this period.


      Dated: 08/29/2019                                      Responsible Officer of the Debtor in Possession


      Notes
      (a) Includes vouched post-petition third-party accounts payable. Balances over 30 days represent vendors with
      payment terms greater than 30 days.
      (b) Does not match accounts receivable reflected in Form 3, as accounts receivable reflected in Form 3 includes
      accounts receivable that has been earned but not billed.


                                                                                                                                             FORM 4

18-50757-amk           Doc 3139            FILED 08/30/19                 ENTERED 08/30/19 17:28:26                               Page 4 of 27
                                                             MONTHLY CASH STATEMENT
                                                             Period Ending: July 31, 2019
Debtor:                                         Case No:
FirstEnergy Solutions Corp.                     18-50757
FirstEnergy Generation, LLC                     18-50762
FirstEnergy Nuclear Generation, LLC             18-50760
FirstEnergy Nuclear Operating Company           18-50761
FE Aircraft Leasing Corp.                       18-50759
FirstEnergy Generation Mansfield Unit 1 Corp.   18-50763
Norton Energy Storage L.L.C.                    18-50764


Cash Activity Analysis (Cash Basis Only):              Acct.                 Acct.               Acct.             Acct.             Acct.              Acct.              Acct.
In $US Dollars                                         x5604                 x3176               x8799             x7460             x0085              x8929              x0077
A.   Beginning Balance                             $999,174,565           $51,719,750          $1,572,863            $454,771       $11,651,106                     $0                 $0

B.   Receipts                                              146,800,771         1,447,850             14,760                807            20,681                -                  -
     Transfers, net                                        (58,873,422)       52,131,011          6,742,411                -                 -                  -                  -
C.   Balance Available                                 1,087,101,915         105,298,610          8,330,034           455,579        11,671,788                 -                  -
D.    Less Disbursements (e)                               (96,377,982)      (49,479,954)                -                 -                  -                 -                  -
E.    ENDING BALANCE                                     990,723,932      $55,818,656          $8,330,034           $455,579        $11,671,788                     $0                 $0
                                                        (a)(b)                 (c)                 (d)              (a)               (a)



Account x5604:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x5604

Account x3176:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x3176

Account x8799:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x8799

Account x7460:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x7460

Account x0085:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x0085

Account x8929:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x8929

Account x0077:
   1. Depository Name & Location                JPMorgan Chase Bank, N.A.
   2. Account Number                            x0077

Other monies on hand (specify type and location) i.e., CD's, bonds, etc.):

Not Applicable




                                                Dated: 08/29/2019                           Responsible Officer of the Debtor in Possession


Notes
(a) Balance of these three accounts is reflective of the cash balance in the consolidated balance sheet in Form 3 for the following debtors: FirstEnergy Solutions Corp., FirstEnergy
Generation, LLC, FirstEnergy Nuclear Generation, LLC, FE Aircraft Leasing Corp., FirstEnergy Generation Mansfield Unit 1 Corp., Norton Energy Storage L.L.C. The difference between
the bank account balance and the balance on the balance sheet is driven by various book vs. bank reconciling items.
(b) Balance does not match the bank account statement balance as the bank account statement balance does not include the daily overnight investment sweep amounts ($755.8 million
overnight sweep on July 31, 2019).
(c) Balance is reflective of the cash balance in Form 3 of the balance sheet for FirstEnergy Nuclear Operating Company. The difference between the bank account balance and the balance
on the balance sheet is driven by various book vs. bank reconciling items.
(d) Escrow deposit account reflected as a pre-payment on Form 3 for the balance sheet including the following debtors: FirstEnergy Solutions Corp., FirstEnergy Generation, LLC,
FirstEnergy Nuclear Generation, LLC, FE Aircraft Leasing Corp., FirstEnergy Generation Mansfield Unit 1 Corp., Norton Energy Storage L.L.C.
(e) Reflective of a vendor payment of $4.1M in July to DXC, pursuant to the Order and DXC Contract.




                                                                                                                                                                           FORM 5


     18-50757-amk                  Doc 3139                 FILED 08/30/19                      ENTERED 08/30/19 17:28:26                                   Page 5 of 27
                             MONTHLY STATEMENT OF INSIDER COMPENSATION / PAYMENTS
                                           Period Ending: July 31, 2019

          Debtor:                                              Case No:
          FirstEnergy Solutions Corp.                          18-50757
          FirstEnergy Generation, LLC                          18-50762
          FirstEnergy Nuclear Generation, LLC                  18-50760
          FirstEnergy Nuclear Operating Company                18-50761
          FE Aircraft Leasing Corp.                            18-50759
          FirstEnergy Generation Mansfield Unit 1 Corp.        18-50763
          Norton Energy Storage L.L.C.                         18-50764


Name:     Multiple                                                                            Capacity:                         Shareholder
                                                                                                                  x             Officer
                                                                                                                  x             Director
                                                                                                                  x             Insider

Detailed Description of Duties:                                Seven officers / insiders and four independent directors


In $US Dollars                                                                                            Month of July 2019
Current Compensation Paid:                                                                                $       1,753,212
Current Benefits Paid:
         Health Insurance                                                                                             10,145
          Life Insurance                                                                                                  393
          Retirement                                                                                                   6,678
          Company Vehicle                                                                                                 -
          Entertainment                                                                                                   -
          Expense Reimbursement                                                                                       11,532
          Other Benefits                                                                                                  724
          Total Benefits                                                                                  $           29,472
Current Other Payments Paid:
          Rent Paid                                                                                                       -
          Loans                                                                                                           -
          Other (Company paid Umbrella Liability Insurance)                                                               171
          Total Other Payments                                                                            $               171
Total of all payments for the current month:                                                              $       1,782,854




Dated:                                             8/29/2019
                                                                          Responsible Officer of the Debtor in Possession




                                                                                                                                      FORM 6

 18-50757-amk               Doc 3139           FILED 08/30/19              ENTERED 08/30/19 17:28:26                          Page 6 of 27
                                                    SCHEDULE OF IN-FORCE INSURANCE
                                                                          Period Ending: July 31, 2019

Debtor:                                                                                                     Case No:
FirstEnergy Solutions Corp.                                                                                 18-50757
FirstEnergy Generation, LLC                                                                                 18-50762
FirstEnergy Nuclear Generation, LLC                                                                         18-50760
FirstEnergy Nuclear Operating Company                                                                       18-50761
FE Aircraft Leasing Corp.                                                                                   18-50759
FirstEnergy Generation Mansfield Unit 1 Corp.                                                               18-50763
Norton Energy Storage L.L.C.                                                                                18-50764

                                                                                                                                                                              EXPIRATION
INSURANCE TYPE                                                                                              CARRIER                                                              DATE
Directors and Officers Liability Insurance Policy                                                           Aegis Security Insurance Company/ AEGIS Insurance Services Inc.       9/1/2019
Excess Follow Form Policy                                                                                   Aegis Security Insurance Company/ AEGIS Insurance Services Inc.       9/1/2019
Arch Insurance Company Directors and Officers Liability                                                     Arch Insurance Company                                                9/1/2019
Directors and Officers Liability Policy                                                                     AXIS Insurance Company                                                9/1/2019
Directors and Officers Liability Policy                                                                     Berkshire Hathaway Specialty Insurance Company                        9/1/2019
Directors and Officers Liability Policy                                                                     Continental Insurance Company                                         9/1/2019
Excess Management Liability Insurance                                                                       Endurance American Insurance Company                                  9/1/2019
Excess Directors and Officers Liability Indemnity Policy                                                    Energy Insurance Mutual Ltd                                           9/1/2019
Excess Fiduciary                                                                                            Energy Insurance Mutual Ltd                                           9/1/2019
Directors and Officers Liability Excess Chubb Policy                                                        Federal Insurance Company                                             9/1/2019
Executive Protection Portfolio Policy                                                                       Federal Insurance Company                                             9/1/2019
Directors & Officers Liability Policy                                                                       Illinois National Insurance Company                                   9/1/2019
Excess Edge Policy                                                                                          Illinois National Insurance Company                                   9/1/2019
Directors & Officers Liability Policy                                                                       QBE Insurance Corporation                                             9/1/2019
Directors and Officers Liability Policy                                                                     U.S. Specialty Insurance Company                                      9/1/2019
Excess Insurance Policy                                                                                     XL Specialty Insurance Company                                        9/1/2019
Directors and Officers Liability Policy                                                                     XL Specialty Insurance Company                                        9/1/2019
Directors and Officers Liability Policy                                                                     Zurich American Insurance Company                                     9/1/2019
Property Insurance Policy- Policy Of All Risk Property Insurance Including Machinery Breakdown              Associated Electric & Gas Ins Services Ltd                           10/1/2019
Property Insurance                                                                                          Energy Insurance Mutual Ltd                                          10/1/2019
Property Insurance                                                                                          Energy Insurance Mutual Ltd                                          10/1/2019
Property Insurance Policy- Policy Of All Risk Property Insurance Including Machinery Breakdown              Freberg Environmental Inc.                                           10/1/2019
Property Insurance Policy- Policy Of All Risk Property Insurance Including Machinery Breakdown              HDI Global Insurance Company                                         10/1/2019
Property Insurance Policy- Policy Of All Risk Property Insurance Including Machinery Breakdown              Navigators Management Co. Inc.                                       10/1/2019
Commercial Excess Property Policy                                                                           Princeton Excess & Surplus Lines Insurance Co                        10/1/2019
Evidence Of Cover                                                                                           Talbot Underwriting Services (US) Ltd. (Validus)                     10/1/2019
Xsprop                                                                                                      Zurich American Insurance Company                                    10/1/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Nuclear Energy Liability Policy                                                                             American Nuclear Insurers                                           12/31/2019
Terrorism and/or Sabotage and Sabotage Liability                                                            Energy Insurance Services Inc.                                        1/1/2020
Excess Cyber Liability Indemnity Policy                                                                     Associated Electric & Gas Ins Services Ltd                            2/1/2020
Excess Cyber Liability Indemnity Policy                                                                     Energy Insurance Mutual Ltd                                           2/1/2020
Crime Excess Policy                                                                                         Federal Insurance Company                                             4/1/2020
Excess Non-Nuclear Property Insurance Policy                                                                Neil Specialty Insurance Company                                      4/1/2020
Excess Non-Nuclear Property Insurance Policy                                                                Neil Specialty Insurance Company                                      4/1/2020
Excess Non-Nuclear Property Insurance Policy                                                                Neil Specialty Insurance Company                                      4/1/2020
Primary Property And Decontamination Liability Insurance                                                    Nuclear Electric Insurance Limited                                    4/1/2020
Primary Property And Decontamination Liability Insurance                                                    Nuclear Electric Insurance Limited                                    4/1/2020
Primary Property And Decontamination Liability Insurance                                                    Nuclear Electric Insurance Limited                                    4/1/2020
Blanket Excess, Decontamination Liability, Decommissioning Liability and Excess Property Insurance Policy   Nuclear Electric Insurance Limited                                    4/1/2020
Neil I Accidental Outage Insurance Policy                                                                   Nuclear Electric Insurance Limited                                    4/1/2020
Neil I Accidental Outage Insurance Policy                                                                   Nuclear Electric Insurance Limited                                    4/1/2020
Primary Property And Decontamination Liability Insurance                                                    Nuclear Electric Insurance Limited                                    4/1/2020
Neil I Accidental Outage Insurance Policy                                                                   Nuclear Electric Insurance Limited                                    4/1/2020
Commercial Crime Policy                                                                                     Great American Insurance Company                                      4/1/2020
Aviation Insurance Policy                                                                                   Global Aerospace, Inc.                                                6/1/2020
Liability Insurance                                                                                         ACE Bermuda Insurance Ltd. / Aon Bermuda                              7/1/2020
Punitive Damages Insurance                                                                                  Aegis Security Insurance Company/ AEGIS Insurance Services Inc.       7/1/2020
Liability Insurance                                                                                         Allied World Assurance Company Ltd. / Aon Bermuda                     7/1/2020
Excess Liability Insurance Policy                                                                           Arch Ins. Bermuda Ltd. / Aon Bermuda                                  7/1/2020
Excess Liability Insurance Policy                                                                           Associated Electric & Gas Ins Services Ltd                            7/1/2020
Excess Workers Compensation                                                                                 Associated Electric & Gas Ins Services Ltd                            7/1/2020
Excess General Liability Indemnity Policy                                                                   Energy Insurance Mutual Ltd                                           7/1/2020
Worldwide Vessel Pollution Policy                                                                           Water Quality Insurance Syndicate                                     7/1/2020
Liability Insurance                                                                                         XL Insurance Bermuda Ltd. / Aon Bermuda                               7/1/2020
Crisis Insurance                                                                                            National Union Fire Insurance Company of Pittsburgh, PA               4/1/2021




Dated: 08/29/2019                                                                                           Responsible Officer of the Debtor in Possession




                                                                                                                                                                                   FORM 7


 18-50757-amk                       Doc 3139                 FILED 08/30/19                       ENTERED 08/30/19 17:28:26                                     Page 7 of 27
                                                                                                                   June 29, 2019 through July 31, 2019
                                JPMorgan Chase Bank, N.A.
                                P O Box 182051
                                                                                                                Account Number:   xxxxxxxxxxx5604
                                Columbus, OH 43218- 2051
                                                                                                           CUSTOMER SERVICE INFORMATION

                                                                                                           If you have any questions about your
                                                                                                           statement, please contact your
                                                                                                           Customer Service Professional.
                                00022611 DDA 802 211 21319 NNNNNNNNNNN 1 000000000 61 0000


                                FIRSTENERGY SOLUTIONS CORP.
                                341 WHITE POND DRIVE
                                AKRON OH 44320-1119




                                                                                                                                                                00226110301000000023
  *start*summary




                                                                     Commercial Checking With Interest
              CHECKING SUMMARY
              Beginning Balance                                                                 $253,419,091.67
              Deposits and Additions                                             59           16,582,874,776.13
              Electronic Withdrawals                                              8             - 155,251,404.15
              Other Withdrawals, Fees & Charges                                  22          - 16,446,097,549.66
              Ending Balance                                                     89             $234,944,913.99

              Annual Percentage Yield Earned This Period                                               2.11%
              Interest Paid This Period                                                          $445,563.24
              Interest Paid Year-to-Date                                                        $3,067,451.87
  *end*summary




*start*deposits and additions




           DEPOSITS AND ADDITIONS

            07/01                       JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                               $745,755,473.69
                                        1821012737Xj
            07/01                       Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                              9,674,007.52
                                        Trn: 1458600182Zm
            07/01                       JPMorgan Mmmf Dividend 100% US Treasury Capital 3163 29921900 Trn:                                     1,317,409.82
                                        1821009600Xj
            07/02                       JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                                750,491,975.18
                                        1831000161Xj
            07/02                       Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                              2,944,845.39
                                        Trn: 1187900183Zm
            07/03                       JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                                753,423,571.70
                                        1841000158Xj
            07/03                       Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                              5,037,301.31
                                        Trn: 1221700184Zm
*end*deposits and additions




                                                                                                                                           Page 1 of 6

                                 18-50757-amk           Doc 3139         FILED 08/30/19           ENTERED 08/30/19 17:28:26                      Page 8 of 27
                                                                                                      June 29, 2019 through July 31, 2019
                                                                                                    Account Number:   xxxxxxxxxxx5604
*start*deposits and additions




                                                                    (continued)
           DEPOSITS AND ADDITIONS

            07/05                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      756,368,417.09
                                   1861000158Xj
            07/05                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    2,530,629.28
                                   Trn: 0734100186Zm
            07/05                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                          162,810.26
                                   2534500186Jo
            07/05                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                              3,421.84
                                   2534400186Jo
            07/08                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      753,210,295.53
                                   1891000154Xj
            07/08                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    7,735,905.18
                                   Trn: 1135200189Zm
            07/09                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      753,861,467.81
                                   1901000156Xj
            07/09                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    9,040,446.93
                                   Trn: 1117700190Zm
            07/10                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      761,597,372.99
                                   1911000155Xj
            07/10                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    5,039,732.59
                                   Trn: 1150400191Zm
            07/10                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                            63,742.30
                                   4864800191Jo
            07/11                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      770,637,819.92
                                   1921000157Xj
            07/11                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    2,895,574.01
                                   Trn: 0927900192Zm
            07/12                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      750,147,833.98
                                   1931000157Xj
            07/12                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    8,089,100.13
                                   Trn: 1088900193Zm
            07/12                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                          291,759.22
                                   3483900193Jo
            07/15                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      753,335,167.21
                                   1961000155Xj
            07/15                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                   12,466,220.09
                                   Trn: 1197400196Zm
            07/16                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      761,424,267.34
                                   1971000156Xj
            07/16                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    5,682,071.18
                                   Trn: 1074900197Zm
            07/17                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      773,890,487.43
                                   1981000155Xj
            07/17                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    3,545,208.88
                                   Trn: 1083300198Zm
            07/17                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                              6,737.49
                                   5879100198Jo
            07/18                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      779,572,558.61
                                   1991000157Xj
            07/18                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    2,109,327.72
                                   Trn: 0884800199Zm
            07/19                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      704,955,205.79
                                   2001000154Xj
            07/19                                                                                                               7,064,152.24
*end*deposits and additions




                                                                                                                              Page 2 of 6

                                18-50757-amk      Doc 3139       FILED 08/30/19         ENTERED 08/30/19 17:28:26                   Page 9 of 27
                                                                                                      June 29, 2019 through July 31, 2019
                                                                                                    Account Number:   xxxxxxxxxxx5604
*start*deposits and additions




                                                                    (continued)
           DEPOSITS AND ADDITIONS

                                   Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:
                                   3701300200Jo
            07/19                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    3,128,631.86
                                   Trn: 1038600200Zm
            07/19                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                        1,166,900.23




                                                                                                                                                  10226110302000000063
                                   3701400200Jo
            07/22                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      707,064,533.51
                                   2031000153Xj
            07/22                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                   18,337,821.95
                                   Trn: 1071600203Zm
            07/23                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      718,424,217.84
                                   2041000156Xj
            07/23                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    5,268,060.70
                                   Trn: 1067200204Zm
            07/24                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      736,762,039.79
                                   2051000155Xj
            07/24                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    6,563,742.96
                                   Trn: 1062300205Zm
            07/24                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                            40,956.17
                                   4463700205Jo
            07/24                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                              4,434.91
                                   4463600205Jo
            07/25                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      742,030,100.49
                                   2061000156Xj
            07/25                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    3,012,622.46
                                   Trn: 0916600206Zm
            07/26                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      734,400,594.82
                                   2071000155Xj
            07/26                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    2,622,588.33
                                   Trn: 1077400207Zm
            07/26                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                            41,623.87
                                   2744700207Jo
            07/26                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                              2,724.86
                                   2744600207Jo
            07/29                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      737,457,566.01
                                   2101000153Xj
            07/29                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                   11,102,729.59
                                   Trn: 1130300210Zm
            07/30                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      740,080,154.34
                                   2111000154Xj
            07/30                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    4,596,134.42
                                   Trn: 1163000211Zm
            07/31                  JPMorgan Mmmf Redemption 100% US Treasury Capital 3163 29921900 Trn:                      751,182,883.93
                                   2121000153Xj
            07/31                  Book Transfer Credit B/O: Firstenergy Service Company Akron OH 44308-1812                    4,442,810.09
                                   Trn: 1224400212Zm
            07/31                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                          298,455.77
                                   5020100212Jo
            07/31                  Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                            24,566.34
                                   5020600212Jo
            07/31                  Interest Payment                                                                               445,563.24
            Total Deposits and Additions                                                                                 $16,582,874,776.13
*end*deposits and additions




                                                                                                                              Page 3 of 6

                                18-50757-amk      Doc 3139      FILED 08/30/19         ENTERED 08/30/19 17:28:26                  Page 10 of 27
                                                                                                                  June 29, 2019 through July 31, 2019
                                                                                                                Account Number:   xxxxxxxxxxx5604
*start*electronic withdrawal




        ELECTRONIC WITHDRAWALS

            07/01                        Book Transfer Debit A/C: Firstenergy Solutions Corp. Akron OH 44320- Trn:                         $6,742,411.00
                                         5343800182Jo
            07/03                        Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                          8,361,654.97
                                         6060100184Jo
            07/05                        Fedwire Debit Via: Fifth Third Cinci/042000314 A/C: Aba/044002161 Circleville OH                   1,879,457.00
                                         43113 Ben: Generation Now Incorporated US Ref:/Time/14:34 Imad:
                                         0705B1Qgc03C007010 Trn: 2644100186Jo
            07/10                        Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                         25,593,460.83
                                         5120900191Jo
            07/17                        Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                         52,131,010.73
                                         5867800198Jo
            07/17                        Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                         26,038,288.46
                                         5861300198Jo
            07/24                        Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                         14,238,639.71
                                         3931400205Jo
            07/31                        Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                         20,266,481.45
                                         5735100212Jo
            Total Electronic Withdrawals                                                                                                $155,251,404.15
*end*electronic withdrawal



*start*other withdrawal fees charges




        OTHER WITHDRAWALS, FEES & CHARGES

            07/01                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                       $750,491,975.18
                                        1.0000 Trn: 1821013564Xj
            07/02                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         753,423,571.70
                                        1.0000 Trn: 1831000681Xj
            07/03                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         756,368,417.09
                                        1.0000 Trn: 1841000297Xj
            07/05                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         753,210,295.53
                                        1.0000 Trn: 1861000555Xj
            07/08                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         753,861,467.81
                                        1.0000 Trn: 1891000576Xj
            07/09                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         761,597,372.99
                                        1.0000 Trn: 1901000513Xj
            07/10                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         770,637,819.92
                                        1.0000 Trn: 1911000555Xj
            07/11                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         750,147,833.98
                                        1.0000 Trn: 1921000529Xj
            07/12                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         753,335,167.21
                                        1.0000 Trn: 1931000564Xj
            07/15                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         761,424,267.34
                                        1.0000 Trn: 1961000660Xj
            07/16                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         773,890,487.43
                                        1.0000 Trn: 1971000589Xj
            07/17                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         779,572,558.61
                                        1.0000 Trn: 1981000562Xj
            07/18                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         704,955,205.79
                                        1.0000 Trn: 1991000578Xj
            07/19                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         707,064,533.51
                                        1.0000 Trn: 2001000532Xj
            07/22                       JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                         718,424,217.84
                                        1.0000 Trn: 2031000586Xj
*end*other withdrawal fees charges




                                                                                                                                          Page 4 of 6

                                       18-50757-amk        Doc 3139        FILED 08/30/19          ENTERED 08/30/19 17:28:26                  Page 11 of 27
                                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                                      Account Number:    xxxxxxxxxxx5604
  *start*other withdrawal fees charges




                                                                                                              (continued)
           OTHER WITHDRAWALS, FEES & CHARGES

               07/23                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     736,762,039.79
                                                     1.0000 Trn: 2041000541Xj
               07/24                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     742,030,100.49
                                                     1.0000 Trn: 2051000572Xj
               07/25                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     734,400,594.82




                                                                                                                                                                       10226110303000000063
                                                     1.0000 Trn: 2061000631Xj
               07/26                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     737,457,566.01
                                                     1.0000 Trn: 2071000568Xj
               07/29                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     740,080,154.34
                                                     1.0000 Trn: 2101000543Xj
               07/30                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     751,182,883.93
                                                     1.0000 Trn: 2111000598Xj
               07/31                                 JPMorgan Mmmf Investment 100% US Treasury Capital 3163 29921900 At Nav of                     755,779,018.35
                                                     1.0000 Trn: 2121000585Xj
               Total Other Withdrawals, Fees & Charges                                                                                        $16,446,097,549.66
  *end*other withdrawal fees charges




 *start*post overdraft and returned item message2




          Your service charges, fees and earnings credit have been calculated through account analysis.
 *end*post overdraft and returned item message2




    *start*daily ending balance1




                    DAILY ENDING BALANCE

                 07/01                                                 $252,931,596.52                             07/17                           175,382,647.18
                 07/02                                                  252,944,845.39                             07/18                           252,109,327.72
                 07/03                                                  246,675,646.34                             07/19                           261,359,684.33
                 07/05                                                  250,651,172.28                             07/22                           268,337,821.95
                 07/08                                                  257,735,905.18                             07/23                           255,268,060.70
                 07/09                                                  259,040,446.93                             07/24                           242,370,494.33
                 07/10                                                  229,510,014.06                             07/25                           253,012,622.46
                 07/11                                                  252,895,574.01                             07/26                           252,622,588.33
                 07/12                                                  258,089,100.13                             07/29                           261,102,729.59
                 07/15                                                  262,466,220.09                             07/30                           254,596,134.42
                 07/16                                                  255,682,071.18                             07/31                           234,944,913.99
    *end*daily ending balance1




*start*interest rate on collected balance2




               INTEREST RATE ON COLLECTED BALANCE

                                                               07/01         TO          07/31   AT        2.09%
*end*interest rate on collected balance2




                                                                                                                                                   Page 5 of 6

                                                    18-50757-amk       Doc 3139      FILED 08/30/19       ENTERED 08/30/19 17:28:26                    Page 12 of 27
                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                         Account Number:   xxxxxxxxxxx5604

        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
        address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
        incorrect or if you need more information about a transfer listed on the statement or receipt.
        For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or
        error appeared. Be prepared to give us the following information:
               • Your name and account number
               • The dollar amount of the suspected error
               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
        We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
        accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it
        takes us to complete our investigation.

        IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
        incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
        appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details,
        see the Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are
        offered by JPMorgan Chase Bank, N.A. Member FDIC


*end*dda portrait disclosure message area
                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                     Page 6 of 6

                                                      18-50757-amk   Doc 3139   FILED 08/30/19   ENTERED 08/30/19 17:28:26               Page 13 of 27
                                                                                                               June 29, 2019 through July 31, 2019
                                JPMorgan Chase Bank, N.A.
                                                                                                            Account Number: xxxxxxxxxxx3176
                                P O Box 182051
                                Columbus, OH 43218- 2051
                                                                                                         CUSTOMER SERVICE INFORMATION

                                                                                                         If you have any questions about your
                                                                                                         statement, please contact your
                                                                                                         Customer Service Professional.
                                00000417 DDA 001 211 21319 NNNNNNNNNNN 1 000000000 61 0000


                                FIRSTENERGY NUCLEAR OPERATING COMPANY
                                76 S MAIN ST
                                AKRON OH 44308-1812




                                                                                                                                                            00004170201000000022
  *start*summary




                                                                     Commercial Checking With Interest
              CHECKING SUMMARY
              Beginning Balance                                                               $51,719,750.19
              Deposits and Additions                                             10            53,578,860.26
              Electronic Withdrawals                                              5          - 49,479,954.43
              Ending Balance                                                     15           $55,818,656.02

              Annual Percentage Yield Earned This Period                                            2.11%
              Interest Paid This Period                                                        $95,518.39
              Interest Paid Year-to-Date                                                      $619,353.41
  *end*summary




*start*deposits and additions




           DEPOSITS AND ADDITIONS

            07/05                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                 $85,600.58
                                        2534600186Jo
            07/10                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                   31,434.29
                                        4879500191Jo
            07/12                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                 763,364.36
                                        3483100193Jo
            07/17                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                             52,131,010.73
                                        5879500198Jo
            07/17                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                   56,309.34
                                        5877600198Jo
            07/19                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                   28,452.87
                                        3701600200Jo
            07/24                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                   99,603.74
                                        4463400205Jo
            07/26                       Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                                    3,464.96
                                        2744800207Jo
*end*deposits and additions




                                                                                                                                       Page 1 of 4

                                18-50757-amk           Doc 3139         FILED 08/30/19        ENTERED 08/30/19 17:28:26                    Page 14 of 27
                                                                                                                                  June 29, 2019 through July 31, 2019
                                                                                                                             Account Number: xxxxxxxxxxx3176


*start*deposits and additions




                                                                                            (continued)
           DEPOSITS AND ADDITIONS

            07/31                                         Book Transfer Credit B/O: Firstenergy Service CO Akron OH 44308- Trn:                               284,101.00
                                                          5020200212Jo
            07/31                                         Interest Payment                                                                                      95,518.39
            Total Deposits and Additions                                                                                                                 $53,578,860.26
*end*deposits and additions


    *start*electronic withdrawal




             ELECTRONIC WITHDRAWALS

                 07/03                                  Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                          $8,452,797.63
                                                        6056400184Jo
                 07/10                                  Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                          12,829,806.39
                                                        5110500191Jo
                 07/17                                  Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                           4,293,987.85
                                                        5853500198Jo
                 07/24                                  Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                          17,430,234.40
                                                        3922000205Jo
                 07/31                                  Book Transfer Debit A/C: Firstenergy Service Company Akron OH 44308- Trn:                           6,473,128.16
                                                        5735200212Jo
                 Total Electronic Withdrawals                                                                                                             $49,479,954.43
    *end*electronic withdrawal



   *start*post overdraft and returned item message2




            Your service charges, fees and earnings credit have been calculated through account analysis.
   *end*post overdraft and returned item message2




     *start*daily ending balance2




                  DAILY ENDING BALANCE

                 07/03                                                                         $43,266,952.56
                 07/05                                                                          43,352,553.14
                 07/10                                                                          30,554,181.04
                 07/12                                                                          31,317,545.40
                 07/17                                                                          79,210,877.62
                 07/19                                                                          79,239,330.49
                 07/24                                                                          61,908,699.83
                 07/26                                                                          61,912,164.79
                 07/31                                                                          55,818,656.02
     *end*daily ending balance2




  *start*interest rate on collected balance2




                 INTEREST RATE ON COLLECTED BALANCE

                                                                   07/01        TO        07/31      AT          2.09%
  *end*interest rate on collected balance2




                                                                                                                                                          Page 2 of 4

                                                      18-50757-amk         Doc 3139      FILED 08/30/19         ENTERED 08/30/19 17:28:26                     Page 15 of 27
                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                         Account Number: xxxxxxxxxxx3176


        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
        address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
        incorrect or if you need more information about a transfer listed on the statement or receipt.
        For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or
        error appeared. Be prepared to give us the following information:
               • Your name and account number




                                                                                                                                                           10004170202000000062
               • The dollar amount of the suspected error
               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
        We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
        accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it
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        offered by JPMorgan Chase Bank, N.A. Member FDIC


*end*dda portrait disclosure message area
                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                     Page 3 of 4

                                                      18-50757-amk   Doc 3139   FILED 08/30/19   ENTERED 08/30/19 17:28:26               Page 16 of 27
                                                                  June 29, 2019 through July 31, 2019
                                                                Account Number: xxxxxxxxxxx3176




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                                                                                          Page 4 of 4

18-50757-amk   Doc 3139   FILED 08/30/19         ENTERED 08/30/19 17:28:26                    Page 17 of 27
                                                                                                                                      June 29, 2019 through July 31, 2019
                                                      JPMorgan Chase Bank, N.A.
                                                                                                                                   Account Number: xxxxxxxxxxx8799
                                                      P O Box 182051
                                                      Columbus, OH 43218- 2051
                                                                                                                                CUSTOMER SERVICE INFORMATION

                                                                                                                                If you have any questions about your
                                                                                                                                statement, please contact your
                                                                                                                                Customer Service Professional.
                                                00000329 DDA 001 211 21319 NNNNNNNNNNN 1 000000000 61 0000


                                                FIRSTENERGY SOLUTIONS CORP.
                                                341 WHITE POND DRIVE
                                                AKRON OH 44320-1119




                                                                                                                                                                                   00003290101000000021
  *start*summary




                                                                                         Commercial Checking With Interest
              CHECKING SUMMARY
              Beginning Balance                                                                                       $1,572,862.84
              Deposits and Additions                                                                  2                6,757,171.11
              Ending Balance                                                                          2               $8,330,033.95

              Annual Percentage Yield Earned This Period                                                                   2.11%
              Interest Paid This Period                                                                               $14,760.11
              Interest Paid Year-to-Date                                                                              $36,795.54
  *end*summary




*start*deposits and additions




           DEPOSITS AND ADDITIONS

            07/01                                            Book Transfer Credit B/O: Firstenergy Solutions Corp. Akron OH 44320- Trn:                          $6,742,411.00
                                                             5343800182Jo
            07/31                                            Interest Payment                                                                                          14,760.11
            Total Deposits and Additions                                                                                                                         $6,757,171.11
*end*deposits and additions


   *start*post overdraft and returned item message2




            Your service charges, fees and earnings credit have been calculated through account analysis.
   *end*post overdraft and returned item message2




     *start*daily ending balance2




                   DAILY ENDING BALANCE

                 07/01                                                                                $8,315,273.84
                 07/31                                                                                 8,330,033.95
     *end*daily ending balance2




  *start*interest rate on collected balance2




                 INTEREST RATE ON COLLECTED BALANCE

                                                                      07/01        TO         07/31       AT            2.09%
  *end*interest rate on collected balance2




                                                                                                                                                              Page 1 of 2

                                                      18-50757-amk            Doc 3139     FILED 08/30/19             ENTERED 08/30/19 17:28:26                   Page 18 of 27
                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                         Account Number: xxxxxxxxxxx8799


        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
        address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
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               • The dollar amount of the suspected error
               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
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        offered by JPMorgan Chase Bank, N.A. Member FDIC


*end*dda portrait disclosure message area
                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                     Page 2 of 2

                                                      18-50757-amk   Doc 3139   FILED 08/30/19   ENTERED 08/30/19 17:28:26               Page 19 of 27
                                                                                                                                       June 29, 2019 through July 31, 2019
                                                                                                                                     Account Number: xxxxxxxxxxx7460
                                                      JPMorgan Chase Bank, N.A.
                                                      P O Box 182051
                                                      Columbus, OH 43218- 2051
                                                                                                                                 CUSTOMER SERVICE INFORMATION

                                                                                                                                 If you have any questions about your
                                                                                                                                 statement, please contact your
                                                                                                                                 Customer Service Professional.
                                                00000328 DDA 001 211 21319 NNNNNNNNNNN 1 000000000 61 0000


                                                FIRSTENERGY SOLUTIONS CORP.
                                                341 WHITE POND DRIVE
                                                AKRON OH 44320-1119




                                                                                                                                                                                       00003280101000000021
  *start*summary




                                                                                         Commercial Checking With Interest
              CHECKING SUMMARY
              Beginning Balance                                                                                          $454,771.41
              Deposits and Additions                                                                  1                       807.25
              Ending Balance                                                                          1                  $455,578.66

              Annual Percentage Yield Earned This Period                                                                    2.11%
              Interest Paid This Period                                                                                   $807.25
  *end*summary
              Interest Paid Year-to-Date                                                                                 $6,656.86
*start*deposits and additions




           DEPOSITS AND ADDITIONS

            07/31                                            Interest Payment                                                                                                $807.25
            Total Deposits and Additions                                                                                                                                     $807.25
*end*deposits and additions


   *start*post overdraft and returned item message2




            Your service charges, fees and earnings credit have been calculated through account analysis.
   *end*post overdraft and returned item message2




     *start*daily ending balance2




                   DAILY ENDING BALANCE

                 07/31                                                                                    $455,578.66
     *end*daily ending balance2




  *start*interest rate on collected balance2




                 INTEREST RATE ON COLLECTED BALANCE

                                                                      07/01        TO         07/31          AT          2.09%
  *end*interest rate on collected balance2




                                                                                                                                                               Page 1 of 2

                                                      18-50757-amk            Doc 3139     FILED 08/30/19               ENTERED 08/30/19 17:28:26                  Page 20 of 27
                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                         Account Number: xxxxxxxxxxx7460


        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
        address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
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*end*dda portrait disclosure message area
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                                                                                                                                     Page 2 of 2

                                                      18-50757-amk   Doc 3139   FILED 08/30/19   ENTERED 08/30/19 17:28:26               Page 21 of 27
                                                                                                                                    June 29, 2019 through July 31, 2019
                                                      JPMorgan Chase Bank, N.A.
                                                      P O Box 182051
                                                                                                                                  Account Number:   xxxxxxxxxxx0085
                                                      Columbus, OH 43218- 2051
                                                                                                                              CUSTOMER SERVICE INFORMATION

                                                                                                                              If you have any questions about your
                                                                                                                              statement, please contact your
                                                                                                                              Customer Service Professional.
                                                00000195 DDA 001 211 21319 NNNNNNNNNNN 1 000000000 61 0000


                                                FIRSTENERGY SOLUTIONS CORP.
                                                FIRSTENERGY SOLUTIONS CORP
                                                341 WHITE POND DRIVE
                                                AKRON OH 44320-1119




                                                                                                                                                                                00001950101000000021
  *start*summary




                                                                                         Commercial Checking With Interest
              CHECKING SUMMARY
              Beginning Balance                                                                                   $11,651,106.37
              Deposits and Additions                                                                  1                 20,681.41
              Ending Balance                                                                          1           $11,671,787.78

              Annual Percentage Yield Earned This Period                                                                  2.11%
              Interest Paid This Period                                                                              $20,681.41
              Interest Paid Year-to-Date                                                                            $141,274.59
  *end*summary




*start*deposits and additions




           DEPOSITS AND ADDITIONS

            07/31                                            Interest Payment                                                                                      $20,681.41
            Total Deposits and Additions                                                                                                                           $20,681.41
*end*deposits and additions


   *start*post overdraft and returned item message2




            Your service charges, fees and earnings credit have been calculated through account analysis.
   *end*post overdraft and returned item message2




     *start*daily ending balance2




                   DAILY ENDING BALANCE

                 07/31                                                                             $11,671,787.78
     *end*daily ending balance2




  *start*interest rate on collected balance2




                 INTEREST RATE ON COLLECTED BALANCE

                                                                      07/01        TO         07/31       AT          2.09%
  *end*interest rate on collected balance2




                                                                                                                                                            Page 1 of 2

                                                      18-50757-amk            Doc 3139     FILED 08/30/19           ENTERED 08/30/19 17:28:26                   Page 22 of 27
                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                         Account Number:   xxxxxxxxxxx0085

        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
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               • The dollar amount of the suspected error
               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
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*end*dda portrait disclosure message area
                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                     Page 2 of 2

                                                      18-50757-amk   Doc 3139   FILED 08/30/19   ENTERED 08/30/19 17:28:26               Page 23 of 27
                                                                                        June 29, 2019 through July 31, 2019
     JPMorgan Chase Bank, N.A.
                                                                                     Account Number: xxxxxxxxxxx8929
     P O Box 182051
     Columbus, OH 43218- 2051
                                                                                       Customer Service Information

                                                                                   If you have any questions about your
                                                                                   statement, please contact your
     00000695 WBS 001 211 21319 NNNNNNNNNNN   1 000000000 C1 0000
                                                                                   Customer Service Professional.
     FIRSTENERGY NUCLEAR GENERATION, LLC
     FIRSTENERGY NUCLEAR GENERATION, LLC
     76 S. MAIN ST
     AKRON OH 44308-1812




                                                                                                                                            00006950101000000021
Commercial Checking With Interest
Summary
                                                                    Number                 Market Value/Amount                 Shares


Opening Ledger Balance                                                                                 $0.00

Deposits and Credits                                                    0                              $0.00
Withdrawals and Debits                                                  0                              $0.00
Checks Paid                                                             0                              $0.00

Ending Ledger Balance                                                                                  $0.00

Interest Rate(s):           07/01 to 07/31 at 2.09%


                Your service charges, fees and earnings credit have been calculated through account analysis.




Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to
the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account
(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or
availability of the first statement on which the error or charge appears.
                                                                                                                 Page 1 of 2

     18-50757-amk            Doc 3139         FILED 08/30/19                 ENTERED 08/30/19 17:28:26                Page 24 of 27
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                                                                             Page 2 of 2


18-50757-amk   Doc 3139   FILED 08/30/19         ENTERED 08/30/19 17:28:26       Page 25 of 27
                                                                                                                                   June 29, 2019 through July 31, 2019
                                                    JPMorgan Chase Bank, N.A.
                                                                                                                              Account Number: xxxxxxxxxxx0077
                                                    P O Box 182051
                                                    Columbus, OH 43218- 2051
                                                                                                                           CUSTOMER SERVICE INFORMATION

                                                                                                                           If you have any questions about your
                                                                                                                           statement, please contact your
                                                                                                                           Customer Service Professional.
                                              00000194 DDA 001 211 21319 NNNNNNNNNNN 1 000000000 61 0000


                                              FIRSTENERGY SOLUTIONS CORP.
                                              FIRSTENERGY SOLUTIONS CORP
                                              341 WHITE POND DRIVE
                                              AKRON OH 44320-1119




                                                                                                                                                                               00001940101000000021
*start*summary




                                                                                       Commercial Checking With Interest
            CHECKING SUMMARY
            Beginning Balance                                                                                              $0.00
            Ending Balance                                                                          0                      $0.00

            Annual Percentage Yield Earned This Period                                                                0.00%
*end*summary




 *start*post overdraft and returned item message2




          Your service charges, fees and earnings credit have been calculated through account analysis.
 *end*post overdraft and returned item message2




*start*interest rate on collected balance2




               INTEREST RATE ON COLLECTED BALANCE

                                                                    07/01        TO         07/31       AT         2.09%
*end*interest rate on collected balance2




                                                                                                                                                           Page 1 of 2

                                                    18-50757-amk            Doc 3139     FILED 08/30/19         ENTERED 08/30/19 17:28:26                      Page 26 of 27
                                                                                                           June 29, 2019 through July 31, 2019
                                                                                                         Account Number: xxxxxxxxxxx0077


        *start*dda portrait disclosure message area




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               • Your name and account number
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               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
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*end*dda portrait disclosure message area
                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                                     Page 2 of 2

                                                      18-50757-amk   Doc 3139   FILED 08/30/19   ENTERED 08/30/19 17:28:26               Page 27 of 27
